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 5
     Attorney for Defendant
 6   CESAR RODRIGUEZ HERNANDEZ
 7

 8                                   UNITED STATES DISTRICT COURT

 9                              EASTERN DISTRICT OF CALIFORNIA
10

11    UNITED STATES OF AMERICA,                       Case No. 2:22-cr-00157-JAM

12                      Plaintiff,                    STIPULATION AND ORDER RE:
                                                      MODIFICATION OF DEFENDANT’S
13           v.                                       CONDITIONS OF PRETRIAL RELEASE

14    CESAR RODRIGUEZ HERNANDEZ,

15                      Defendant.

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18          With the Court’s permission, the defendant Cesar Rodriguez Hernandez requests, and the

19   government does not oppose, that the release conditions imposed on Mr. Hernandez on July 11,

20   2022, be modified to remove the following conditions:

21          You must participate in the following location monitoring program component and

22   abide by all the requirements of the program, which will include having a location

23   monitoring unit installed in your residence and a radio frequency transmitter device

24   attached to your person. You must comply with all instructions for the use and operation of

25   said devices as given to you by the Pretrial Services Agency and employees of the

26   monitoring company. You must pay all or part of the costs of the program based upon your

27   ability to pay, as determined by the pretrial services officer

28          Pretrial Services Officer Daryl Walker is in support of this modification. The United
                                                     1
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 1   States does not oppose this modification.

 2          All other terms and conditions of Mr. Hernandez’s pre-trial release shall remain in effect.

 3          IT IS SO STIPULATED.

 4

 5   DATED: November 18, 2022                     Respectfully submitted,

 6

 7                                                /s/ William F. Portanova
                                                  WILLIAM F. PORTANOVA
 8
                                                  Attorney for Defendant
 9                                                CESAR RODRIGUEZ HERNANDEZ
10

11
     DATED: November 18, 2022                     PHILLIP A. TALBERT
12                                                United States Attorney
13

14                                                /s/ Justin Lee
                                                  JUSTIN LEE
15                                                Assistant United States Attorney
16

17                                      FINDINGS AND ORDER

18          IT IS SO FOUND AND ORDERED.

19   Dated: November 18, 2022

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***AMENDED***

                           SPECIAL CONDITIONS OF RELEASE


                                                       Re: Cesar Mag Rodriguez Hernandez
                                                       No.: 2:22-CR-157-JAM-2
                                                       Date:November 18, 2022

  1. You must report to and comply with the rules and regulations of the Pretrial Services Agency;

  2. You must report in person to the Pretrial Services Agency following your release from
     custody;

  3. You must reside at a location approved by the Pretrial Services Officer and not move or absent
     yourself from this residence for more than 24 hours without the prior approval of the Pretrial
     Services Officer;

  4. You must cooperate in the collection of a DNA sample;

  5. You must restrict your travel to the Eastern District of California unless otherwise approved
     in advance by the Pretrial Services Officer;

  6. You must surrender your passport to the Clerk, U.S. District Court, and you must not apply
     for or obtain a passport or any other travel documents during the pendency of this case;

  7. You must not possess, have in your residence, or have access to a firearm/ammunition,
     destructive device, or other dangerous weapon; additionally, you must provide written proof
     of divestment of all firearms/ammunition currently under your control;

  8. You must refrain from excessive use of alcohol or any use of a narcotic drug or other controlled
     substance without a prescription by a licensed medical practitioner; and you must notify
     Pretrial Services immediately of any prescribed medication(s). However, medicinal marijuana
     prescribed and/or recommended may not be used;

  9. You must submit to drug and/or alcohol testing as approved by the Pretrial Services Officer.
     You must pay all or part of the costs of the testing services based upon your ability to pay, as
     determined by the Pretrial Services Officer;

  10. You must not associate or have any contact with your co-defendants in this case unless in the
      presence of counsel or otherwise approved in advance by the Pretrial Services Officer;

  11. You must report any contact with law enforcement to your Pretrial Services Officer within 24
     hours.
